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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                   CASE NO. 17-CV-23618-KMM

   SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,
   v.

   N1 TECHNOLOGIES, INC., et al.,

                     Defendants.
   ___________________________________________ /

        ORDER GRANTING PLAINTIFF’S MOTION FOR DISMISSAL OF CLERK’S
            DEFAULT AGAINST DEFENDANT N1 TECHNOLOGIES, INC.

           Before the Court is Plaintiff Securities and Exchange Commission’s Motion for

   Dismissal of Clerk’s Default Against N1 Technologies, Inc. Having considered the Motion and

   the record, it is hereby:

           ORDERED AND ADJUDGED that the Motion is GRANTED. The Clerk of Court is

   directed to remove the entry of default against Defendant N1 Technologies, Inc.

           DONE AND ORDERED in Chambers in Miami, Florida, this ____ day of __________

   2018.

                                               ____________________________________
                                               K. MICHAEL MOORE, CHIEF JUDGE
                                               UNITED STATES DISTRICT COURT

   Copies to: Counsel of record
